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                           IN THE UNITED STATES DISTRICT COURT
 7
                                     DISTRICT OF ARIZONA
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 9                                                        CR-19-01199-PHX-SMB
     United States of America,
10
                     Plaintiff,                                   ORDER
11
           vs.                                                 (Third Request)
12
     Jesse Don Moquino,
13
                     Defendant.
14
15            Upon motion of the defendant, no objection from the government and good cause
16   appearing,
17            IT IS HEREBY ORDERED granting the defendant’s Motion to Continue
18   Sentencing for the reasons stated in defendant’s motion (Doc. 47).
19            IT IS FURTHER ORDERED continuing the sentencing hearing of this case from
20   July 2, 2021, to October 4, 2021 at 2:30 p.m., Courtroom 506 in Phoenix, Arizona.

21            The Court finds excludable delay under 18 U.S.C. § 3161(h) _____ from _____to

22   _____.

23            Dated this 22nd day of June, 2021.

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